Case 6:21-cv-06323-CJS Document 22 Filed 03/25/22 Page 1 of 3

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

Plaintiff,
21-cv-06323-CJS
USCA:
-\V-
CLERK’S CERTIFICATE /
INDEX
$8,040.00 United States Currency,
Defendants.
CRISTAL STARLING,
Claimant.

 

I, MARY C. LOEWENGUTH, Clerk of the U.S. District Court for the Western
District of New York, DO HEREBY CERTIFY that the foregoing docket entries, with the
exception of any documents listed below, are maintained electronically on the court's
CM/ECF system and constitute the Record on Appeal in the above entitled action.

The following documents are not available electronically and are
maintained in the Western District of New York:

Docket No. N/A

Upon your request, we will make the above documents available to you.

MARY C. LOEWENGUTH
Clerk of Court
United States District Court

By: s/ Tricia M. Frisa

 

Deputy Clerk

DATED: March 25, 2022
Rochester, NY
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1 of 2

APPEAL

U.S. DISTRICT COURT
U.S. District Court, Western District of New York (Rochester)
CIVIL DOCKET FOR CASE #: 6:21-cv-06323-CJS

United States of America v. $8,040.00 United States Currency Date Filed: 04/16/2021
Assigned to: Hon. Charles J. Siragusa Date Terminated: 02/08/2022
Cause: 21:881 Forfeiture Property-Drugs Jury Demand: None
Nature of Suit: 690 Forfeit/Penalty: Other

Jurisdiction: U.S. Government Plaintiff

 

 

Date Filed # i Docket | Text

 

 

04/16/2021 1 | COMPLAIN’ l against $8,040.00 United States Gumeaey filed by United States of
| America. (Attachments: # | Civil Cover Sheet, # 2 Supplement Arrest Warrant in
| tem)(Carducci, Grace) (Entered: 04/ 16/2021)

 

 

 

 

 

04/19/2021 Case assigned to Hon. Charles J. Siragusa. Notification to Chambers of on-line civil
| opening. (TF) (Entered: 04/19/2021)
04/19/2021 Notice of Availability of Magistrate Judge: A United States Magistrate of this Court is |

available to conduct all proceedings in this civil action in accordance with 28 U.S.C.

636c and FRCP 73. The Notice, Consent, and Reference of a Civil Action to a

Magistrate Judge form (AO-85) is available for download at http://www.uscourts.gov
services-forms/forms. (TF) (Entered: 04/19/2021)

 

 

 

04/19/2021 2 | Notice of Complaint for Forfeiture Against Real Property/Arrest Warrant in Rem Issued
(TF) (Entered: 04/19/2021)

 

 

 

06/22/2021 | 3 | WARRANT IN REM Returned executed on 6/22/2021 as to US Currency DEA,
| Rochester, NY.(TF) (Entered: 06/23/2021)
bi aaa

07/26/2021 | 4 | CERTIFICATE OF SERVICE by United States of America (Carducci, Grace) (Entered:
07/26/2021)

 

 

 

 

 

08/20/2021 5 | DECLARATION filed by United States of America Declaration of Publication.
(Carducci, Grace) (Entered: 08/20/2021)

 

 

 

08/20/2021 | 6 | REQUEST for Clerk's Entry of Default by United States of America against $8,040.00
United States Currency. (Attachments: # 1 Exhibit A, #2 Exhibit B, # 3 Exhibit
C)(Carducci, Grace) (Entered: 08/20/2021)

 

08/24/2021 | 7 | Clerk's ENTRY OF DEFAULT as to $8,040.00 United States Currency (TF) (Entered:
08/24/2021)

 

 

09/03/2021 8 | First MOTION for Entry of Default against $8,040.00 United States Currency by
United States of America. (Attachments: # | Exhibit A, # 2 Exhibit B, # 3 Exhibit C, #
| 4 Exhibit D)(Carducci, Grace) (Entered: 09/03/2021)

 

 

 

 

11/30/2021 9 | CLAIM by Cristal Starling. (JHF) (Entered: 11/30/2021)

 

 

 

12/03/2021 | 10 _MEMORANDUM/BRIEF by Cristal Starling. (JHF) (Entered: 12/03/2021)

 

 

 

3/25/2022, 12:38 PM
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| 12/15/2021 | |1 | First MOTION to Strike Late Claim and Answer by United States of America.
| | (Carducci, Grace) (Entered: 12/15/2021)

12/16/2021 12 | TEXT MOTION SCHEDULING ORDER re: First MOTION to Strike Late Claim and

Answer filed by United States of America. ECF No. 11. Claimant Cristal Starling filed a

claim [ECF No. 9] to the currency at issue on 11/30/21. The United States filed a

| motion to strike the claim [ECF No. 11] on 12/15/21. Claimant Cristal Starling must file

| and serve her response, if any, no later than 1/14/22. Signed by Hon. Charles J. Siragusa

| on 12/16/21. Copy of this NEF mailed to Cristal Starling at 466 1/2 West Main Street,

Apt. 401, Rochester, NY 14608.. Signed by Hon. Charles J. Siragusa on 12/16/21.
(KAP) (Entered: 12/16/2021)

| 01/04/2022 | 3 | RESPONSE to re | 1 First MOTION to Strike filed by Cristal Starling. (JHF) (Entered:
| 01/04/2022)

01/04/2022 | i4 | LETTER RESPONSE WITH CERT OF SERVICE to Motion re 11 First MOTION to
Strike Late Claim and Answer filed by Cristal Starling. (TF) (Entered: 01/05/2022

 

 

 

 

 

 

01/07/2022 15 | REPLY/RESPONSE to re |3 Reply/Response to Answer in Opposition to Motion filed
| by United States of America. (Attachments: # | Exhibit 1, # 2 Exhibit 2)(Carducci,
Grace) (Entered: 01/07/2022)
01/10/2022 16 | CERTIFICATE OF SERVICE by United States of America (Carducci, Grace) (Entered:

01/10/2022)

01/11/2022 17 | REPLY to Response to Motion re 11 First MOTION to Strike Late Claim and Answer
filed by Cristal Starling. (TF) (Entered: 01/12/2022)

 

 

 

 

02/03/2022 | 18 | DECISION AND ORDER granting 8 Motion for Entry of Default; granting 11 Motion

to Strike 8 First MOTION for Entry of Default against $8,040.00 United States
Currency , || First MOTION to Strike Late Claim and Answer. ORDERED that the
government's motion [ECF No. 11] to strike the claim of Cristal Starling is granted; and
it is furtherORDERED that the government's motion [ECF No. 8] for default judgment
is granted; and it is further ORDERED that the defendant $8040.00 United States
currency is forfeited to the United States of America pursuant to 21 U.S.C. § 881(a)(6),
and any claims to the defendant currency are forever barred. Signed by Hon. Charles J.
Siragusa on 2/3/22. Copy of this NEF and order mailed to pro se claimant at 466 1/2
West Main Street, Apt. 401, Rochester, NY 14608 (KAP)

LLOW UP- (Entered: 02/03/2022)

 

02/08/2022 19 | DEFAULT JUDGMENT in favor of United States of America against $8,040.00 United
States Currency. Signed by Clerk of Court on 2/8/2022. Copy of this NEF and judgment
mailed to pro se claimant at 466 1/2 West Main Street, Apt. 401, Rochester, NY
14608.(TF) (Entered: 02/08/2022)

02/10/2022 20 | US Marshal's NOTICE of Disposal as to $8,040.00. (TF) (Entered: 02/11/2022)

 

 

NOTICE OF APPEAL as to 19 Default Judgment, by Cristal Starling. Filing fee $ 505,

| 03/24/2022
receipt number ROC013358. (TF) (Entered: 03/25/2022)

JNO
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2 of 2 3/25/2022, 12:38 PM
